                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

SHAIKH ENTERPRISES, INC.                   §
d/b/a Z S FOOD MART (A/K/A                 §
NAGHMA B. SHAIKH & BASHIR                  §
SHAIKH)                                    §
                                           §
      Plaintiff,                           §
                                           §
vs.                                        § Civil No. 4:20-cv-03411
                                           §
UNITED STATES OF AMERICA,                  §
                                           §
      Defendant.                           §
______________________________________________________________________________

                   DEFENDANT UNITED STATES OF AMERICA’S
                      MOTION FOR SUMMARY JUDGMENT

         The United States of America (“Defendant”) respectfully moves this Court

for summary judgment pursuant to Rule 56(c) of the Federal Rules of Civil

Procedure. Plaintiff’s lawsuit challenges the decision by the United States

Department of Agriculture (USDA), Food and Nutrition Service (“FNS”), to

permanently disqualify Plaintiff from the Supplemental Nutrition Assistance

Program (“SNAP”). The United States contends that there is no genuine issue of

material fact and that the United States is entitled to judgment as a matter of law.
                                          TABLE OF CONTENTS

DEFENDANT'S MOTION FOR SUMMARY JUDGMENT………..……………….
TABLE OF CONTENTS……………...……………………………………………...i
TABLE OF AUTHORITIES........................................................................................ ii
     I. Statement of the Case……………..…………………...……………………..1
     II. Summary of Facts ............................................................................................ 2
     III. Standard of Review…………………………………………………………..4
     IV. Summary of the Argument…………………………………………………..6
     V. Law and Argument ............................................................................................ 7
        A. Defendant made a proper finding that Plaintiff engaged in trafficking….…7
        B. The penalty imposed by Defendant is neither arbitrary nor capricious……12
     VI. Conclusion ..................................................................................................... 17
  Certificate of Service ............................................................................................... 18




                                                             i
                         TABLE OF AUTHORITIES

Cases

Abdeelkhalik v. United States, Case No. 1:94-cv-05809, 1996 WL 41234 (N.D. Ill.
Jan. 30, 1996)……………………………………………………………………......11

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986)……………………………….5

Bordelon v. Block, 810 F.2d 468 (5th Cir.1986)…………………………………....17

Boudreaux v. Swift Transportation Co., Inc., 402 F.3d 536 (5th Cir. 2005)………....6

Celotex Corp. v. Catrett, 477 U.S. 317 (1986)……………………………………..4-6

Goldstein v. United States, 9 F.3d 521, 523-24 (6th Cir. 1993)……...…………..8, 11

Goodman v. United States, 518 F.2d 505 (5th Cir. 1975)……………………………5

Hanif v. United States, Case No. 4:15-cv-02718, 2017 WL 447465 (S.D. Tex. Feb. 2,
2017)…………………………………………………………………………….12, 17

Hathaway v. Bazany, 507 F.3d 312 (5th Cir. 2007)………………………………….7

Kahin v. United States, 101 F. Supp. 2d 1299, 1303 (S.D. Cal. 2000)…………...9, 11

Kim v. United States, 121 F.3d 1269 (9th Cir. 1997)…………………………..11 n. 4

Kingway Supermarkets Inc. v. United States, 545 F. Supp. 2d 613 (S.D. Tex.
2008)………………………………………………………………………..…..8-9, 11

Malagon de Fuentes v. Gonzales, 462 F.3d 498 (5th Cir. 2006)…………...……….11

Meridia v. United States, Case No. 4:13-cv-01124, 2016 WL 7736585 (S.D. Tex.
Aug. 16, 2016)…………………………………………………….....………..8, 11-12

Razzak v. United States, Case No. A-13-CA-207-SS, 2014 WL 582079 (W.D. Tex.
2014)………………………………………………………..…………………....11-12

Redmond v. United States, 507 F.2d 1007 (5th Cir. 1975)……………………….…..5

Saleh v. United States, Case No. 02-C-8846, 2004 WL 549457 (N.D. Ill. Mar. 19,
2004)………………………………………………………………………………….9
                                        ii
Stauffer v. Gearhart, 741 F.3d 574 (5th Cir. 2014)…………………………...…4-5, 7

Traficanti v. United States, 227 F.3d 170 (4th Cir. 2000)………………...……11 n. 4

Statutes

7 U.S.C. § 2021(a)(2)……………………………………………………………...…8

7 U.S.C. § 2021(b)(3)(B)………………………………………………...…2, 8, 12-15

7 U.S.C. § 2023……………………………………………………...……………..1, 5

Regulations

7 C.F.R. § 271.2……………………………………………………………….1 n. 2, 7

7 C.F.R. § 278.6(a)………………………………………………………………..….8

7 C.F.R. § 278.6(e)(1)…………………………………………………...………12, 15

7 C.F.R. § 278.6(f)(1)…………………………………………………………….…16

7 C.F.R. § 278.6(i)……………………………………………………...…6, 13-14, 16

7 C.F.R. § 279.7………………………………………………………………………1

7 C.F.R. § 279.10……………………………………………………..………………1

Rules

Fed. R. Civ. P. 56………………………...….…………………………………..…4, 6




                                    iii
                                      I. Statement of the Case

       Plaintiff filed this action under 7 C.F.R. §§ 279.7 & 279.10(d), and 7 U.S.C. §

2023, to challenge the FNS decision to permanently disqualify Plaintiff from

participating as an authorized retailer in the SNAP. (A.R. 301-307). 1 Defendant found

that Plaintiff illegally trafficked food stamp benefits using the Electronic Benefits

Transfer (“EBT”) system. (A.R. 308-322). 2 Plaintiff has exhausted all administrative

remedies.

       In a series of EBT transactions, Plaintiff illegally redeemed food stamp benefits

using electronic benefits transaction cards. (A.R. 313-318). As a result of these illegal

transactions, food stamp benefits were improperly paid to Plaintiff by the Defendant.




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  Included as Exhibits 1 through 13 to this motion for summary judgment is the Administrative
Record (A.R.), which will be cited throughout this motion according to its page numbering, A.R. 1
through A.R. 380. The A.R. is divided into 13 exhibits in order to meet the size limitations of the
ECF filing system. Additionally, the A.R. has been redacted. See Fed. R. Civ. P. 5.2. Exhibit 14 is
the agency’s Declaration of Completeness of Record of Proceedings Before Administrative Review
Officer and is a certification of the entire A.R..
2
  Food Stamp Act regulations define trafficking to mean the buying or selling of food stamp benefits
for cash or consideration other than eligible food. 7 C.F.R. § 271.2. In Texas, food stamp benefits
are obtained by eligible households using the Lone Star Card, an electronic benefits transfer card.
An authorized user of the Lone Star Card may use the card to pay for eligible food purchased from
an authorized retail food store. At the checkout counter, the authorized user inserts the Lone Star
Card into a point-of-sale device and enters the household’s personal identification number. The
retailer enters the amount of eligible food purchased and transmits the entered information to a
central data base. Once the purchase is authorized by the system, the purchase amount is debited
from the recipient’s account and credited to the retailer’s system account. During system settlement,
funds are electronically transferred from the food stamp program’s account at the U. S. Treasury to
the retailer’s depository account.
                                                 1
(A.R. 308-322). If personnel of the store commit trafficking, 7 U.S.C. § 2021(b)(3)(B)

provides that Defendant shall permanently disqualify the store.

                                   II. Statement of Facts

        Plaintiff was authorized to participate in the SNAP on January 31, 2019. (A.R.

320). Plaintiff was classified as a convenience store during the review period of

November 2019 through April 2020. (A.R. 320-321). On September 28, 2019,

Defendant’s contractor visited the store to observe the store’s operation, stock, and

facilities, took photographs of the store and drafted a report of the visit. (A.R. 141-

172). Plaintiff’s store has approximately 840 square feet, with 21 square feet of storage

outside of public view, one cash register with an EBT “Point of Sale” device, and a

small check-out counter area surrounded by a Plexiglass barrier with limited checkout

counter space. (A.R. 141-142). The store had no shopping carts or hand-held baskets

available for customer use. The store also had no fresh or frozen meats, poultry, or

seafood. (A.R. 141-142).

        On June 12, 2020, Defendant sent a charge letter with exhibits (A.R. 273-280)

to Plaintiff stating that it was in violation of the SNAP regulations based on EBT

transactions that “establish clear and repetitive patterns of unusual, irregular, and

inexplicable SNAP activity.” (A.R. 273). Defendant charged Plaintiff with trafficking

based on two categories of transactions spanning from November 2019 through April

2020.   The first category of transactions was multiple transactions made from

individual benefit accounts in unusually short time frames (and Defendant attached a
                                           2
listing of the transactions).   (A.R. 273 & 276-278).        The second category of

transactions was a series of excessively large purchases made from recipients’

accounts (and Defendant attached a listing of the transactions.) (A.R. 273 & 279-280).

Several EBT transactions were made from the accounts of individual SNAP

households, and such transactions were unusual relative to the store’s characteristics

and food stock. (A.R. 273). The letter also informed Plaintiff that, under certain

conditions, Defendant could impose a civil money penalty (“CMP”) in lieu of

permanent disqualification. (Id.).

       Plaintiff replied to the charge letter on June 22, 2020. (A.R. 283-292). Plaintiff

did not dispute nor offer any evidence to dispute that the trafficking occurred, but did

state that Plaintiff had no SNAP violations prior to the charge letter. (A.R. 284).

Plaintiff requested a CMP in lieu of a permanent disqualification.

       On July 6, 2020, after considering Plaintiff’s reply, Defendant found that the

violations stated in the charge letter occurred and imposed a permanent

disqualification. (A.R. 297-298). Defendant considered Plaintiff’s request for a CMP

in lieu of a permanent disqualification. (A.R. 297). Defendant found that Plaintiff was

not eligible for a CMP because Plaintiff failed to submit sufficient evidence to

demonstrate that Plaintiff established and implemented an effective compliance policy

to prevent violations of the SNAP. (Id.). On July 17, 2020, Plaintiff requested

administrative review of the decision to permanently disqualify Plaintiff from

participating in the SNAP. (A.R. 301-303). On July 27, 2020, Defendant granted

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Plaintiff’s request for administrative review, and notified Plaintiff that Plaintiff could

submit any additional information or evidence to be considered. (A.R. 305).

       On August 17, 2020, Plaintiff submitted additional information or evidence.

(A.R. 308-314). Plaintiff once against requested a CMP and noted that “[t]he owner

of ZS Food Mart was not aware of, did not benefit from, and was not in any way

involved in the conduct and/or approval of trafficking violations.” (A.R. 308).

Plaintiff included sample store receipts for SNAP transactions (A.R. 310-311) and

photographs of the store and surrounding area (A.R. 312-314).

       On September 2, 2020, Defendant issued the Final Agency Decision, finding

that there was sufficient evidence to support a finding that Plaintiffs’ permanent

disqualification from participating in SNAP was properly imposed against Plaintiff.

(A.R. 315-329).

       On November 23, 2020, Plaintiff filed this suit seeking judicial review of the

Final Agency Decision. See Plaintiff’s Compl. Dkt. No. 1. Plaintiff seeks a de novo

review of the agency’s action. Id. ¶ 27. Plaintiff alleged that Defendant violated

Plaintiff’s due process rights. Id. ¶ 28. Additionally, Plaintiff alleged that if “trial de

novo is not awarded, the penalty imposed was arbitrary and capricious.” Id. ¶ 30.

                               III. Standard of Review

       Summary judgment is proper under Fed. R. Civ. P. 56(a) if the record shows

that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law. See Celotex Corp. v. Catrett, 477 U.S. 317,

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322 (1986), Stauffer v. Gearhart, 741 F.3d 574, 581 (5th Cir. 2014). In ruling on a

motion for summary judgment, the court draws all reasonable inferences in the light

most favorable to the nonmoving party. See Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 255 (1986). A party who bears the burden of proof on a particular issue, however,

may not rest on its pleadings: it must affirmatively demonstrate, by specific factual

allegations, that there is a genuine issue of material fact which requires trial. See

Celotex, 477 U.S. at 324. There is no issue for trial unless there is sufficient evidence

favoring the nonmoving party for a factfinder to return a verdict for that party. See

Anderson, 477 U.S. at 249.

       Pursuant to 7 U.S.C. § 2023(a)(13), courts conduct a de novo review of

administrative actions concerning the eligibility of stores to participate in the food

stamp program, including SNAP disqualification challenges. See Redmond v. United

States, 507 F.2d 1007 (5th Cir. 1975). This de novo standard applies to reviewing

whether any violations occurred. As a separate matter, courts may also review the

sanction imposed, but under an arbitrary and capricious standard. See Goodman v.

United States, 518 F.2d 505, 509, 512 (5th Cir. 1975) (citations omitted). A sanction

is arbitrary and capricious if unwarranted in law or unjustified in fact. Id. (citations

omitted).

       Plaintiff has the burden of proof under either of these standards by a

preponderance of the evidence. See Redmond, 507 F.2d at 1012, Goodman 518 F.2d

at 507. As Plaintiff has the burden of proof in this matter and is the nonmoving party

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in this motion, Defendant may satisfy its burden under Fed. R. Civ. P. 56 by “pointing

out to the district court …that there is an absence of evidence to support the nonmoving

party's case.” Celotex, 477 U.S. at 325. Defendant must demonstrate the absence of

a genuine issue of material fact but is not required to negate the elements of Plaintiff’s

case. Boudreaux v. Swift Transportation Co., Inc., 402 F.3d 536, 540 (5th Cir. 2005).

                           IV. Summary of the Argument

       There is no genuine issue of material fact supporting Plaintiff’s allegations and

Defendant is entitled to summary judgment as a matter of law.

       Defendant properly found that Plaintiff illegally trafficked food stamp benefits

based upon the EBT transaction data set forth in the charge letter. 7 U.S.C. §

2021(a)(2) and case law permit the agency to rely on EBT transaction data for a finding

of trafficking. Although Plaintiff requested a de novo review of this finding in the

Complaint, Plaintiff never disputed that trafficking occurred in the administrative

review before the Defendant. Additionally, Plaintiff has offered no evidence to

dispute that finding after filing the Complaint.

       Defendant’s decision to impose a permanent disqualification was supported in

law and fact and was neither arbitrary nor capricious. Plaintiff requested a CMP in

lieu of the disqualification. However, Plaintiff failed to prove that it meets the criteria

for a CMP set forth in 7 C.F.R. § 278.6(i). To that end, Defendant found that Plaintiff

failed to submit evidence that Plaintiff established and implemented an effective

compliance policy and prevention program. Although Plaintiff asserted that it did

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have an effective compliance policy and prevention program, it never offered

documentation of such in its correspondence with the agency. Plaintiff also never

offered any evidence of such after filing the Complaint. Defendant correctly followed

the regulations in imposing the permanent disqualification.

                               V. Law and Argument

      The A.R. filed in conjunction with this motion for summary judgment (as

Exhibits 1 to 13) sets forth the basis for the agency’s finding that Plaintiff engaged in

trafficking and the penalty imposed. The A.R. establishes that summary judgment for

Defendant is appropriate in this case. The finding that Plaintiff engaged in trafficking

is proper and the permanent disqualification is neither arbitrary nor capricious. Thus,

the A.R. demonstrates the absence of a genuine issue of material fact.         As such,

Plaintiff as the nonmovant cannot rely on the allegations from the Complaint but must

respond with evidence showing a genuine factual dispute. See Stauffer, 741 F.3d at

581 (citing Hathaway v. Bazany, 507 F.3d 312, 319 (5th Cir. 2007)). Plaintiff is unable

to do so, and summary judgment is thus appropriate.

      A. Defendant made a proper finding that Plaintiff engaged in trafficking

      Plaintiff was permanently disqualified because Plaintiff trafficked in SNAP

benefits. The applicable regulation defines “trafficking” as “[t]he buying, selling,

stealing, or otherwise effecting an exchange of SNAP benefits . . . for cash or

consideration other than eligible food . . . .” 7 C.F.R. § 271.2.

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      Pursuant to 7 U.S.C. § 2021(b)(3)(B), the penalty for trafficking is a permanent

disqualification. See Meridia v. United States, Case No. 4:13-cv-01124, 2016 WL

7736585 at *3 (S.D. Tex. Aug. 16, 2016). “The regulations have no requirement that

a store owner must receive a warning, demonstrate intention to violate the regulations,

or benefit from the trafficking.” Id. (citing Goldstein v. United States, 9 F.3d 521,

523-24 (6th Cir. 1993)). The agency is not limited to conducting compliance visits to

enforce anti-trafficking laws. It can rely on an analysis of EBT transactions. See 7

U.S.C. § 2021(a)(2) (evidence “may include facts established through on-site

investigations, inconsistent redemption data, or evidence obtained through a

transaction report under an electronic benefit transfer system”); see also 7 C.F.R. §

278.6(a).

      In this case, Defendant relied on EBT transaction data from the months of

November 2019 through April of 2020. (A.R. 273, 276-280). Plaintiff, neither in its

correspondence with the agency between the charge letter and the Final Agency

Decision, nor after filing the Complaint with this Court, has offered any evidence to

argue that the agency’s reliance on the EBT transaction data was impermissible.

      Not only does 7 U.S.C. § 2021(a)(2) allow as evidence EBT transaction data,

but courts have consistently upheld the disqualification of a store based on an analysis

of EBT data rather than an in-store compliance visit. See Meridia, 2016 WL 7736585

at *5, Kingway Supermarkets Inc. v. United States, 545 F. Supp. 2d 613, 617-618 (S.D.
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Tex. 2008), Saleh v. United States, Case No. 02-C-8846, 2004 WL 549457 at *1-3

(N.D. Ill. Mar. 19, 2004), Kahin v. United States, 101 F. Supp. 2d 1299, 1303 (S.D.

Cal. 2000).

          In the Final Agency Decision, the review officer considered whether the EBT

data established by a preponderance of the evidence that the questionable transactions

were the result of trafficking. (A.R. 319). The review officer also noted that the

agency previously conducted a store visit on September 28, 2019, to observe the nature

and scope of Plaintiff’s store and operations. (A.R. 321). 3 The review officer

concluded that Plaintiff’s store was a typical convenience store “where households

normally purchase a limited number of items,” and the stock “was generally of a low

dollar value….” (A.R. 322).

          The first category of EBT transactions from the charge letter (A.R. 273, 276-

278) showed “21 sets of transactions (53 total transactions) totaling $2,106.57 in

SNAP benefits…conducted by 17 different SNAP households.”                 (A.R. 322).

“Multiple transactions conducted by the same household account within a short period

of time is a method which violating stores use to avoid single high dollar transactions

that cannot be supported by a retailer’s inventory and structure.” (A.R. 322). These

transactions are indicative of trafficking because they “display characteristics of use




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    The A.R. contains the report of this store visit. (A.R. 141-172).
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inconsistent with the nature and extent of the [Plaintiff’s] stock and facilities.” (A.R.

322).

        The second category of EBT transactions from the charge letter (A.R. 273, 279-

280) “documents 110 SNAP transactions, as large as $89.41, that total $5,171.80…,”

which “are not consistent with the store’s observed characteristics and food

inventory.” (A.R. 322-323). The review officer noted that the agency compared

Plaintiff’s SNAP transaction data with two other authorized stores within a .61 mile

radius and found that Plaintiff had a significantly higher number of flagged

transactions, and Plaintiff’s average transaction amount was also significantly higher.

(A.R. 324). Moreover, the agency also compared three SNAP households identified

in the charge letter to analyze shopping patterns at Plaintiff’s store with other SNAP

stores within commuting range and with better stocked stores. (A.R. 324). That

analysis revealed that the households “conducted excessively large transactions” at

Plaintiff’s store “within 24 hours of shopping at the larger stores where they conducted

much smaller SNAP purchases.” (A.R. 324).

        While Plaintiff did submit to the agency receipts of SNAP transactions (A.R.

310-311) and did assert to the agency that Plaintiff had no warnings or violations prior

to the charge letter (A.R. 284), those matters do not dispute that trafficking occurred.

Moreover, as the receipts show and as the review officer summarized, all of the

receipts fall outside of the charged timeframe. (A.R. 310-311, 320). Additionally, as
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already noted, the “regulations have no requirement that a store owner must receive a

warning.” Meridia, 2016 WL 7736585 at *3 (citing Goldstein, 9 F.3d at 523-24).

Likewise, 7 U.S.C. § 2021(a) punishes violations committed by a store and it is

irrelevant whether the store owner engaged in trafficking. See Abdeelkhalik v. United

States, Case No. 1:94-cv-05809, 1996 WL 41234 at *5 (N.D. Ill. Jan. 30, 1996). 4

       Thus, the agency properly relied upon the EBT transaction data, where “’the

Plaintiff has failed to rebut or raise material issues of fact as to the logical inferences

from the data.’” See Kingway, 545 F. Supp. 2d at 617 (citing Kahin, 101 F. Supp. 2d

at 1304). The evidence to be considered is found in the A.R., and Plaintiff has offered

no other evidence despite Plaintiff having the burden of proof. The review officer

properly found that trafficking occurred, and there is no genuine issue of material fact

in that regard.

       As a side note, Plaintiff loosely alleged in the Complaint that Defendant violated

Plaintiff’s due process rights. Plaintiff’s Compl. ¶ 28. SNAP regulations need only

pass rational basis scrutiny. See Razzak v. United States, Case No. A-13-CA-207-SS,

2014 WL 582079, at *5 (W.D. Tex. 2014) (citing Malagon de Fuentes v. Gonzales,

462 F.3d 498, 505 (5th Cir. 2006)). Plaintiff only alleges a conclusion and does not


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  Similarly, a permanent disqualification is appropriate even in situations where the store owner is
completely innocent (i.e., the store owner apparently did not know about the purchases of food
stamps, did not participate in those purchases, and did not benefit from those purchases). See, e.g.,
Kim v. United States, 121 F.3d 1269 (9th Cir. 1997), Traficanti v. United States, 227 F.3d 170 (4th
Cir. 2000).
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address in the Complaint how any due process rights were allegedly violated.

Additionally, Plaintiff has offered no evidence to support this allegation.

      Courts have held that the SNAP disqualification process complies with

substantive due process. See Razzak, 2014 WL 582079 at *5; see also Hanif v. United

States, Case No. 4:15-cv-02718, 2017 WL 447465 at *7 (S.D. Tex. Feb. 2, 2017).

Likewise, the applicable statute and regulations in this case provide for a de novo

review, and courts have held this complies with procedural due process. Id. (citations

omitted). Thus, there is no genuine issue of material fact in this regard, and Plaintiff’s

due process claim should fail as a matter of law.

      B. The penalty imposed by Defendant is neither arbitrary nor capricious

      In the Complaint, Plaintiff alleges that the decision to impose a permanent

disqualification was arbitrary and capricious. Plaintiff’s Compl. ¶ 30. The agency’s

decision to impose a permanent disqualification was supported in law and fact and

was neither arbitrary nor capricious.

      The penalty for trafficking is a permanent disqualification. See Meridia, 2016

WL 7736585 at *3. This penalty is provided for in the statute, which provides that a

store shall be permanently disqualified if the store engages in trafficking. 7 U.S.C. §

2021(b)(3)(B); see also 7 C.F.R. § 278.6(e)(1). The charge letter properly notified

Plaintiff that the sanction for trafficking is permanent disqualification, citing 7 C.F.R.

§ 278.6(e)(1). (A.R. 273). Additionally, the charge letter notified Plaintiff that it could
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request a CMP in lieu of permanent disqualification and that 7 C.F.R. § 278.6(i) listed

the criteria Plaintiff must prove to be considered for a CMP. (A.R. 273).

      7 U.S.C. § 2021(b)(3)(B) further provides that the agency has “the discretion to

impose a civil penalty …in lieu of disqualification …if …there is substantial evidence

that such store or food concern had an effective policy and program in effect to prevent

violations of the chapter and the regulations.” (emphasis added). 7 C.F.R. § 278.6(i)

provides the same, and further provides the criteria that a store must meet:

      Criterion 1. The firm shall have developed an effective compliance policy
      as specified in § 278.6(i)(1); and

      Criterion 2. The firm shall establish that both its compliance policy and
      program were in operation at the location where the violation(s) occurred
      prior to the occurrence of violations cited in the charge letter sent to the
      firm; and

      Criterion 3. The firm had developed and instituted an effective personnel
      training program as specified in § 278.6(i)(2); and

      Criterion 4. Firm ownership was not aware of, did not approve, did not
      benefit from, or was not in any way involved in the conduct or approval
      of trafficking violations; or it is only the first occasion in which a member
      of firm management was aware of, approved, benefited from, or was
      involved in the conduct of any trafficking violations by the firm.

Id. Additionally, 7 C.F.R. § 278.6(i)(1) provides guidance for Criterion 1, compliance

policy standards, including “whether a firm has established an effective policy to

prevent violations, FNS shall consider written and dated statements of firm policy

which reflect a commitment to ensure that the firm is operated in a manner consistent

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with this part 278 of current FSP regulations and current FSP policy on the proper

acceptance and handling of food coupons.” 7 C.F.R. § 278.6(i)(2) provides guidance

for Criterion 3, compliance training program standards, including the requirement of

submitting records of dates of employment of store personnel, records of training

curricula and records of dates of training.

      Plaintiff specifically requested a CMP in lieu of a permanent disqualification in

its response to the charge letter. (A.R. 283-285). In the Final Agency Decision, the

review officer sustained the decision to impose a permanent disqualification, finding

that Plaintiff provided no supporting documentation of its request for a CMP. (A.R.

327). 7 U.S.C. § 2021(b)(3)(B) and 7 C.F.R. § 278.6(i) place the burden upon Plaintiff

to provide substantial evidence that it meets the four criterion. Plaintiff failed to do

so before the agency, despite multiple opportunities to do so.

      In its response to the charge letter, Plaintiff argued that it met the criteria for a

CMP, alleging that Plaintiff had been in business since 2003 and never had any

warnings or violations prior to the charge letter. (A.R. 284). Plaintiff also alleged that

since the beginning of its operations it had trained its employees regarding SNAP

benefits.   (A.R. 284).    Finally, Plaintiff alleged that its store is located in an

economically disadvantaged area and there are no other stores within a one-mile radius

that accept SNAP benefits and attached photos of the store and surrounding area to

support this contention. (A.R. 284, 288-290).
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       It should also be noted that Plaintiff’s counsel argued to the agency, in addition

to a CMP, that Plaintiff should only be disqualified for a year at the most. (A.R. 285).

However, this argument is foreclosed by the law. As already noted, the penalty for

trafficking is permanent disqualification. 7 U.S.C. § 2021(b)(3)(B); see also 7 C.F.R.

§ 278.6(e)(1). The review officer also reached this conclusion. (A.R. 326).

       The agency then notified Plaintiff that it did not qualify for a CMP because

Plaintiff failed to submit evidence that Plaintiff established and implemented an

effective compliance policy and prevention program. 5 (A.R. 297). In the letter

requesting administrative review of that decision, Plaintiff’s counsel asserted that

Plaintiff did in fact have an effective compliance policy and prevention program in

place and would provide supporting information at a later date. (A.R. 301-302). In a

subsequent letter providing additional information for consideration, Plaintiff’s

counsel noted:

       [Plaintiff] did in fact have such policies and programs in place. All
       employees hired by the business were required to meet with Mr. Shaikh
       prior to starting their first shift. At that meeting, Mr. Shaikh personally
       discussed the SNAP regulations and guidelines, as provided by the Food
       and Nutrition Service (FNS).




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 Prior to this letter, the Retail Operations Division (a component of the agency) evaluated Plaintiff’s
response, addressed that response under all four criterion, and recommended that the permanent
disqualification be imposed. (A.R. 293-296).
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(A.R. 308).    Plaintiff provided no documentation in support of this assertion.

(emphasis added).     The only additional documents provided were receipts and

photographs of the store and surrounding area. (A.R. 310-314).

      Plaintiff’s documentation of photographs of the store and surrounding area goes

to an argument of hardship to SNAP households in the area. Not to be confused with

the CMP in lieu of permanent disqualification contemplated by 7 C.F.R. § 278.6(i),

the regulation separately contemplates for a civil penalty in cases of hardship to SNAP

households. Pursuant to 7 C.F.R. § 278.6(f), a CMP can be imposed in lieu of a

disqualification in cases of hardship to SNAP households in the area, but not in cases

of a permanent disqualification.      (emphasis added).      Thus, Plaintiff’s hardship

argument is foreclosed by law and the review officer correctly made that finding.

(A.R. 326). Thus, Plaintiff’s request for a CMP is limited to the requirements set forth

in 7 C.F.R. § 278.6(i).

      7 C.F.R. § 278.6(i) requires Plaintiff to provide “substantial evidence” that it

meets all of the criteria. Plaintiff offered no evidence. Plaintiff’s counsel’s statements

in correspondence that Plaintiff had a compliance program is not evidence. The

review officer correctly held that Plaintiff provided no supporting documentation of

its request for a CMP. (A.R. 327).

      The agency followed the laws and regulations applicable to permanent

disqualifications from the SNAP program, including requests for a CMP. The agency
                                           16
applied the facts as set forth in the A.R. to those laws and regulations. The decision

to impose a permanent disqualification was correct based upon those facts applied to

the applicable laws and regulations. As already noted, Plaintiff failed to offer evidence

to support its request for a CMP. See Hanif, 2017 WL 447465 at *6 (finding that the

retail store did not qualify for a CMP because it never submitted the required

information to be considered for such a penalty in lieu of disqualification). As such,

the agency correctly applied the law. “If an agency action adheres to its internal

guidelines, it is not arbitrary and capricious.” Bordelon v. Block, 810 F.2d 468, 471

(5th Cir.1986) (citations omitted).

      Therefore, the decision to impose a permanent disqualification was neither

arbitrary nor capricious, and there is no genuine issue of material fact in that regard.

                                      VI. Conclusion

      The United States has demonstrated, through its exhibits and memorandum, the

absence of genuine issues of material fact. Since there is no genuine issue as to any

material fact in this case, the United States’ motion for summary judgment against the

Plaintiff should be granted as a matter of law.

                                         Respectfully Submitted,

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                         CERTIFICATE OF SERVICE

      I, Chad W. Cowan, do hereby certify that a true and correct copy of this motion

was filed by the CM/ECF system and served upon Plaintiff’s counsel on November

30, 2021.



                                      / s/ Chad W. Cowan
                                      CHAD W. COWAN
                                      Assistant United States Attorney




                                         18
